                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                        )
IVAN LAGUNA and MARGARITA LOPEZ,        )
                Plaintiffs,             )
                                        )
v.                                      )
                                        )
LAZER SAFE, PTY, LTD,                   )                     C.A. No. 3:23-cv-30016-MGM
FIESSLER ELECTRONIK GmbH & CO., KG.,    )
ERMAK USA, INC.,                        )
ERMAKSAN TURKEY a/k/a                   )
ERMAKSAN MAKINA SANAYI VE               )
TICARET A.S., and JOHN DOE DISTRIBUTOR, )
                   Defendants.          )
                                        )

            OPPOSITION OF DEFENDANT LAZER SAFE, PTY, LTD
    TO PLAINTIFFS’ COUNTER-MOTION FOR JURISDICTIONAL DISCOVERY

       Defendant Lazer Safe, Pty, Ltd., (“Lazer” or “Defendant”) hereby opposes the Plaintiffs’

Cross-Motion to Stay Hearing On Motion to Dismiss and for Jurisdictional Discovery, on the

basis that the plaintiffs have not established their entitlement to any “jurisdictional discovery,”

because the “evidence” submitted in connection with the Opposition and Counter-Motion

suggests only that (1) the components manufactured by Lazer were not, in fact, purchased

directly from Lazer, but via Ermak USA, Inc.; (2) that a Texas-based entity sells and services

“Lazer Safe” products. These documents and allegations insufficient to justify an intercontinental

fishing expedition.




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                               JURISDICTIONAL ALLEGATIONS AND EXHIBITS

                             Allegations in Plaintiffs’ Second Amended Complaint

         Defendant Lazer Safe, Pty, Ltd (“Lazer”) is -- as plaintiffs admit – a corporation organized under

the laws of Australia. See Pl. 2nd Am. Compl. at ¶ 31. Plaintiffs’ Second Amended Complaint

seeks recovery exclusively from entities whose business and activities occur outside the

Commonwealth of Massachusetts: Defendants Ermak Makina Sanayi Ve Ticaret, A.S.,

(“Ermak”) a press brake manufacturer headquartered in Turkey, and Fiessler Elektronik GmbH &

Co. KG (“Fiessler”), a component manufacturer headquartered in Germany, and Lazer, a

component manufacturer headquartered in Australia. Plaintiffs’ Second Amended Complaint

contains no allegations that Lazer engaged in any conduct within the Commonwealth of

Massachusetts, and alleges no contact between Lazer and the Commonwealth of Massachusetts.

                                          Exhibits to Counter-Motion

         Plaintiffs have submitted various documents in support of their Opposition and Counter-

Motion:

         Exhibit 1 is an email that appears to be from “Ken Searles” at “International Container

Co.” to “S. Rodoplu” at “Ermak USA.” Several people appear on the “CC” and “To” lines, all

with either “Ermak USA” or “International Container Co.” addresses. The subject of the email is

“Ermaksan Press Break.” Mr. Searles posits that the press brake may have a problem with the

“lazer guard in the rear.”

         Exhibit 2 appears to be a photograph of a screen, presumably, that of the press brake at

issue.




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       Exhibit 3 is an email from Senol Rodoplu, at Ermak USA, to Mr. Searles. There are

other individuals on the recipient list, all apparently associated with Ermak USA or International

Container Co. The content concerns a quote for a compatible light guard. There is also a

reference to a “Spare Part Department.”

       Exhibit 4 is a photograph of a serial or model number plate. “Lazer Safe Pty LTD” and

“Perth – Western Australia” appear on the far left side.

       Exhibit 5 is a photograph of a faded “Lazersafe” logo on the shiny metal surface of a

component or machine. A yellow and black sticker is displayed near or over the logo, and says

“Laser Light” in three languages: English, French, and German.

       Exhibit 6 is a screen shot of, presumably, a website, without the URL visible. It appears

to be a listing for “Lazer Safe.” There is an address provided in Australia. There is, what appears

to be, a list of “related content” beneath.

       Exhibit 7 appears to be text and links from the “About” page of a YouTube channel, for

Lazer Safe. It is not a screenshot. It is not clear how the matter was captured, or when. There is a

note that the location for the channel is “Australia.”

       Exhibit 8 seems to be a listing or page from a search engine, showing that Lazer Safe has

a twitter handle, “@lazersafe.”

       Exhibit 9 seems to be Lazer Safe Pty Ltd’s profile on LinkedIn, if viewed while not

signed in. The URL is not shown. The date of the visit is unclear; it is not clear whether the

document shows a complete screenshot, or matter captured otherwise.

       Exhibit 10 is, it seems, one or more pages from LazerSafe.com. The complete URL is

not shown. The date of capture is unclear.




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       Exhibit 11 appears to be marketing materials for LazerSafe. It is unclear when these

were obtained, or the date produced. No part of Exhibit 11 permits a user to purchase products

directly from Lazer Safe. No part of Exhibit 11 represents that Lazer Safe has a location within

Massachusetts, or does business there.

       Exhibit 12 appears to be a screenshot, or partial screenshot, of a website for THCO,

LLC. No URL is visible. The date the matter was retrieved is unclear.

                                             ARGUMENT

       “A diligent plaintiff who sues an out-of-state corporation and who makes out a colorable

case for the existence of in personam jurisdiction may well be entitled to a modicum of

jurisdictional discovery if the corporation interposes a jurisdictional defense.” United States v.

Swiss Am. Bank, Ltd., 274 F.3d 610, 625 (1st Cir. 2001) (quoting Sunview Condominium Ass'n v.

Flexel Int'l, Ltd., 116 F.3d 962, 964 (1st Cir.1997)). “However, that entitlement is not absolute.”

Id. “A plaintiff who seeks jurisdictional discovery must make ‘a colorable claim of jurisdiction’

and must show that it “has been diligent in preserving [its] rights to be entitled to jurisdictional

discovery.” Motus, LLC v. CarData Consultants, Inc., 23 F.4th 115, 128 (1st Cir. 2022). “A

party must identify a non-frivolous dispute about facts that may yield a sufficient predicate for in

personam jurisdiction.” Id.

       Plaintiff has offered, in place of “colorable” evidence, two categories of material: (1)

Matter concerning the acts and actions of other parties – Ermak USA and THCO, LLC – who

import, distribute, or use Lazer Safe components in the United States; and (2) Matter taken from

the internet, showing, broadly, that Lazer Safe has a general awareness that its products enter the

stream of commerce and may be used outside of Australia. Neither bolster the plaintiffs’ claim of




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jurisdiction; neither so much as suggest that Lazer Safe conducted any business, held any assets,

or engaged in any activity within the Commonwealth of Massachusetts.

       Courts in the First Circuit have held that similar showings were not sufficient to establish

entitlement to jurisdictional discovery. See Tice v. Taiwan Shin Yeh Enter. Co., 608 F. Supp. 2d

119, 125 (D. Me. 2009) (as demonstration of a manufacturer’s “awareness” that its products

make their way into a jurisdiction through the actions of others is insufficient for jurisdiction, a

desire to interrogate the manufacturer further about these networks was insufficient to justify

jurisdictional discovery); Sun Life Assur. Co. of Canada v. Sun Bancorp, Inc, 946 F. Supp. 2d

182, 193 (D. Mass. 2012) (plaintiff’s hope that dissecting the relationship between the in-state

non-party and out-of-state defendant bank would yield “contacts” between the defendant and the

Commonwealth was insufficient to justify jurisdictional discovery); Mullane v. Breaking Media,

Inc., No. CV 18-12618-PBS, 2019 WL 5588961, at 11 (D. Mass. Aug. 13, 2019), aff'd, No. 20-

1061, 2021 WL 3027150 (1st Cir. Feb. 26, 2021) (the availability of a website within

Massachusetts, and the fact that the website was widely read by law students, many of whom

attend school in Massachusetts, was insufficient to justify an exercise of jurisdiction, or permit

discovery on the subject of Massachusetts-source revenue).

        Plaintiffs have not plausibly alleged– nor do the documents appended to their motion

suggest – that Lazer Safe conducted or undertook any within-Commonwealth or

Commonwealth-directed acts, actions, or transactions, that could be substantiated by targeted

discovery. Plaintiffs’ Counter-Motion for Jurisdictional Discovery must be denied.




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                                            CONCLUSION

       Defendant Lazer Safe Pty Ltd respectfully requests that the Plaintiffs’ Cross-Motion to

Allow Jurisdictional Discovery be denied.

                                              Respectfully submitted,
                                              The Defendant,
                                              LAZER SAFE, PTY, LTD,
                                              By its attorneys,

                                              /s/ Nora R Adukonis
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                                CERTIFICATE OF SERVICE

        I, Nora R Adukonis, hereby certify the foregoing document filed through the ECF system
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF) and paper copies will be sent to those indicated as non-registered participants on
January 12, 2024.

                                              /s/ Nora Adukonis




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